         Case 5:20-cr-00475-BLF Document 20 Filed 11/23/21 Page 1 of 6




            UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                               San Jose Venue


              Amended Petition for Summons for Person Under Supervision
                 (Initial Petition for Summons filed on April 13, 2021)


Person Under Supervision                          Docket Number
Jovencio Limosnero                                0971 5:20CR00475-001 BLF

Name of Sentencing Judge: The Honorable Laurie Smith Camp
                          Chief United States District Judge
                          District of Nebraska

Date of Original Sentence:      August 29, 2016

Original Offense
Count One: Conspiracy to Distribute Methamphetamine and Aiding and Abetting 21 U.S.C. §
841(a)(1), 841(b)(1)(B), and 846, & 18 U.S.C. § 2, a Class B Felony

Original Sentence: 80 months custody followed by four years supervised release.

Special Conditions: Cooperate with the collection of DNA; no alcohol; search; substance abuse
testing/treatment; 20 hours of community services when not employed; provide financial
information; completed cognitive behavioral based program; and $100 special assessment.

Prior Form(s) 12: On December 10, 2020, the Court in the District of Nebraska took judicial
notice of positive drug tests submitted on October 22, 2020, and November 5, 2020.

On December 11, 2020, jurisdiction was transferred from the District of Nebraska to the
Northern District of California and assigned to Your Honor.

On February 1, 2021, a Report on Person Under Supervision was filed reporting a diluted
urinalysis specimen and a positive drug test for amphetamine and methamphetamine taken on
December 9 and 17, 2020, respectively. Your Honor took Judicial Notice to allow the client to
continue to receive substance abuse treatment services.

On April 13, 2021, a Petition for Summons was filed with the court to report a positive drug test,
the client’s admission to the use of controlled substances, a new law violation of possession of
controlled substance, and association with a convicted felon. On April 30, 2021, Mr. Limosnero
was arraigned by Magistrate Judge Illman on the above-mentioned violations. The client
appeared before Your Honor for status hearings on May 11, 2021, and August 17, 2021. The
matter was continued to allow time for the client to enter residential substance abuse treatment.
A further status hearing was scheduled for November 30, 2021.

                                                                     NDC-SUPV-FORM 12C(1) 4/6/2015
          Case 5:20-cr-00475-BLF Document 20 Filed 11/23/21 Page 2 of 6

RE:    Limosnero, Jovencio                                                                         2
       0971 5:20CR00475-001 BLF


 Type of Supervision                               Date Supervision Commenced
 Supervised Release                                August 21, 2020
 Assistant U.S. Attorney                           Defense Counsel
 Michael Pitman                                    Severa Keith One(AFPD)


                                      Petitioning the Court

Petitioning the Court to incorporate Charge Number Four (in bold font) and to order the
client to appear for arraignment before Magistrate Judge Westmore on November 29, 2021,
at 1:00 p.m.

I, Janie Zhuang, a Probation Officer employed in the United States District Court for the Northern
District of California, solemnly affirm and declare, under penalty of perjury, that to the best of my
information and belief, the facts set forth in this affidavit are true and correct. The factual
affirmations made below are based on my personal knowledge, on official records or documents
generated and maintained by my agency in the course of performing its functions, on official
records or documents generated and maintained by other government agents or agencies in the
course of performing their functions, or on information provided to me orally or electronically by
employees or agents of other public agencies (information developed or acquired in the course of
performing official agency functions).

 Charge Number          Violation

 One                    There is probable cause to believe that the person under supervision violated
                        the mandatory condition which prohibits him from the possession and the
                        unlawful use of controlled substances.

                           On March 15, 2021, during an office visit, the client submitted an
                           unobserved urinalysis which resulted in a presumptive positive test for
                           amphetamine, methamphetamine and marijuana. On March 26, 2021,
                           during an office visit, the client submitted a urinalysis test which
                           resulted in a positive test for amphetamine, methamphetamine and
                           marijuana. On March 31, 2020, the client submitted a urinalysis test
                           which returned presumptive positive for the presence of amphetamine
                           and methamphetamine. Mr. Limosnero admitted to the use of controlled
                           substances in the aforementioned instances and agreed to address his
                           relapse in out-patient substance abuse treatment services.

                           Evidence of the alleged violation is contained in the Alere Toxicology
                           reports for specimen number B04400778, and contained in
                           chronological entries in Mr. Limosnero’s electronic probation file dated
                           March 15, 2021, March 26, 2021, and March 31, 2021.




                                                                       NDC-SUPV-FORM 12C(1) 4/6/2015
          Case 5:20-cr-00475-BLF Document 20 Filed 11/23/21 Page 3 of 6

RE:     Limosnero, Jovencio                                                                    3
        0971 5:20CR00475-001 BLF
Two                  There is probable cause to believe that the person under supervision violated
                     a mandatory condition, which states that the client must not commit another
                     federal, state or local crime.

                       On March 18, 2021, Mr. Limosnero was observed driving a vehicle with
                       a non-functioning taillight. He was stopped by an officer of the Salinas
                       Police Department for vehicle equipment failure in violation of
                       California Vehicle Code 24252(2). Upon contact with the client, the
                       officer discovered the passenger of the vehicle had multiple felony
                       warrants for her arrest and two syringes containing black liquid in her
                       purse. Upon a search of the client, officers found a baggie containing a
                       brown substance which was believed to be heroin. Mr. Limosnero was
                       therefore found in violation of the California Health and Safety Code
                       11350(a), Possession of Controlled Substance.

                       Evidence of this violation can be found in the Salinas Police Department
                       Report No. 21-030768.



Three                There is probable cause to believe that the offender violated Standard
                     condition number nine which in part prohibits him from associating with
                     any person convicted of a felony.

                       As described in Charge One, the client was found in his vehicle with a
                       female who had multiple felony warrants and who was in possession of
                       syringes containing heroin.

                       Evidence of this violation can be found in the Salinas Police Department
                       Report No. 21-030768.



Four                 There is probable cause to believe that the person under supervision
                     violated the mandatory condition, which states that the client must not
                     commit another federal, state or local crime.

                       On or about September 29, 2021, at approximately 4:05 p.m. in
                       Salinas, California, Mr. Limosnero Endangered a Child, Exhibited
                       a Deadly Weapon (not a firearm) and Threatened a Violent Assault,
                       in violation of California Penal Code Sections 273a, 417(a)(1), and
                       422, all misdemeanors.

                       According to Salinas Police Department report number 21-091233,
                       on or about September 29, 2021, while driving eastbound on E.
                       Alisal Street in Salinas, the alleged victim reportedly almost “cut
                       off” Limosnero’s vehicle. The alleged victim pulled into the parking
                       lot on E. Alisal Street and the client pulled in behind the victim.


                                                                   NDC-SUPV-FORM 12C(1) 4/6/2015
         Case 5:20-cr-00475-BLF Document 20 Filed 11/23/21 Page 4 of 6

RE:    Limosnero, Jovencio                                                                     4
       0971 5:20CR00475-001 BLF
                           Limosnero reportedly exited his vehicle with a knife in his right
                           hand, making lunging motions, and poking the window with the
                           knife. The victims did not understand English and did not know
                           what Limosnero was saying. However, their child seated in the
                           back passenger seat understood English and said Limosnero was
                           threatening to kill the father, who was the driver. At one point
                           Limosnero was observed opening the passenger side door of the
                           victim’s vehicle, yelling profanity and brandishing a 6-8 inch knife.
                           The victims feared for their safety and started to call 911, made a
                           video recording on their cell phone and followed Limosnero to
                           obtain his vehicle license plate number.

                           The responding officer later made contact with Limosnero at his
                           home and conducted an interview. Limosnero told the officer he
                           was cut off by the victim on the road. Limosnero admitted to having
                           a knife in his hand when he pulled over and making contact with
                           the alleged victim. He denied threatening the victims or
                           lunging/swinging the knife in his hand but acknowledged that he
                           opened the victim’s passenger side door to inquire about the reason
                           that he was being recorded.

                           Evidence of this violation can be found in the Salinas Police
                           Department Report No. 21-091233.



Based on the foregoing, there is probable cause to believe that Jovencio Limosnero violated the
conditions of his Supervised Release.


 Respectfully submitted,                         Reviewed by:



 ___________________________________             ___________________________________
 Janie Zhuang                                    Jennifer J. James
 U.S. Probation Officer Specialist               Supervisory U.S. Probation Officer
 Date Signed: November 23, 2021




                                                                    NDC-SUPV-FORM 12C(1) 4/6/2015
         Case 5:20-cr-00475-BLF Document 20 Filed 11/23/21 Page 5 of 6

RE:    Limosnero, Jovencio                                                                   5
       0971 5:20CR00475-001 BLF



Having considered the information set forth above, the court finds there is probable cause to
believe there has been a violation of the conditions of supervision and orders:
 X    Petitioning the Court to incorporate Charge Number Four (in bold font) and to order the
      client to appear for arraignment before Magistrate Judge Westmore on November 29,
      2021, at 1:00 p.m.



      Other:




    November 23, 2021
 ___________________________________           ___________________________________
 Date                                          Beth Labson Freeman
                                               United States District Judge




                                                                  NDC-SUPV-FORM 12C(1) 4/6/2015
         Case 5:20-cr-00475-BLF Document 20 Filed 11/23/21 Page 6 of 6

RE:    Limosnero, Jovencio                                                               6
       0971 5:20CR00475-001 BLF



                                         APPENDIX

Grade of Violations: C [USSG §7B1.1(a)(3), p.s.]

Criminal History at time of sentencing: VI

                                Statutory Provisions        Guideline Provisions

 Custody:                       3 years                     8-14 months
                                18 U.S.C. § 3583(e)(3)      USSG §7B1.4(a), p.s.

 Supervised Release:            5 years less any terms of   5 years less any terms of
                                custody imposed upon        custody imposed upon
                                revocation                  revocation
                                18 U.S.C. § 3583(h)         USSG §7B1.3(g)(2), p.s.

 Probation:                     Not authorized              Not authorized




                                                              NDC-SUPV-FORM 12C(1) 4/6/2015
